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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA
UNITED STATES OF AMERICA
V.

AHMED ABU KHATALLAH, : CRIMINAL NO.: 14-cr-141 (CRC)
also known as “Ahmed Mukatallah,”

Defendant.

ORDER

Based on the representations set forth in the government’s oral proffer and motion at the
status hearing held on July 8, 2014, and a review of the entire record in this case, the Court hereby
makes the following findings:

1. Given the nature of the indicted offense and overall prosecution, the fact that the
offense is alleged to have occurred outside the United States, the fact that much of the evidence
originates and many of the witnesses reside overseas, the fact that the defendant faces a possible
sentence of life imprisonment, the possibility of novel questions of fact or law, the voluminous
discovery materials to be produced, and the defendant’s need for an interpreter, the Court finds that
the case is so unusual and complex that it is unreasonable to expect adequate preparation for
pretrial proceedings or for the trial itself with the time limits established by the Speedy Trial Act,
18 U.S.C. § 3161, and

2. For the foregoing reasons, the Court further finds the ends of justice are served by
granting the government’s request for time to be excluded from the computation within which to

commence trial for the defendant under the Act, pursuant to 18 U.S.C. § 3161(h)(7)(A) and

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(h)(7)(B)(ii), and that the ends of justice outweigh the best interest of the public and the
defendant in a speedier trial.

Therefore, it is hereby ORDERED, that, in accordance with 18 U.S.C. § 3161(h)(7)(A),
that the following time shall be excluded from the computation of time within which to
commence trial for the defendant under the Speedy Trial Act: from the date of the status hearing

on July 8, 2014, through the date of the next status hearing, which is currently scheduled for the

Te day of Sep hanl ex .2014, at oar.

CLM. loop

CHRISTOPHER R. COOPFR
UNITED STATES DISTRICT COURT JUDGE

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DATE’

